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IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF DELAWARE

INSYS THERAPEUTICS, INC. and
INSYS DEVELOPMENT COMPANY, INC.,

Plaintiffs,
v. C.A. No. l7-l303-CFC

TEVA PHARMACEUTICALS USA, INC., CONSOLIDATED

Dei`endant.

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At Wilmington, this /@ nday of A»@`/ , 2019, having considered Teva Pharmaceuticals
USA, Inc.’s April 11, 2019 letter (D.I. 71) and Plaintiffs’ response thereto, along with any oral

argument entertained by the Court,
IT IS HEREBY ORDERED THAT:

1. Within one week, Plaintiffs shall produce documents from Which the inventorship of
the asserted patents, including of the claimed fentanyl salt and fentanyl derivative
formulations, can be determined and reflecting the research and discovery of the
claimed inventions, including the claimed fentanyl salt and fentanyl derivative
formulations. If no such documents regarding the claimed fentanyl hydrochloride,
fentanyl chloride, fentanyl sulphate, fentanyl tartrate, sufentanil, carfentanil,

lofentanil, and/or alfatenil formulations exist, Plaintiffs shall provide a written

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V. J. pr rd \7-(7'.

statement to that effect.

